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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

VeroBlue Farms USA, Inc.,             §
                                      §
       Plaintiff,                     §   No. 3:19-cv-00764-L
                                      §
       v.                             §
                                      §
Leslie A. Wulf, Bruce A. Hall,        §
James Rea, John E. Rea, and           §
Keith Driver,                         §
                                      §
       Defendants.                    §
______________________________________________________________________________

    NON-PARTIES SNB FARM PARTNERSHIP, GRACE NELSON, JEFF
 NELSON, JERITA NELSON, KORINNE NELSON, AND MARK NELSON’S
   BRIEF IN SUPPORT OF THIER MOTION TO SEVER AND TRANSFER
    THEIR MOTION TO QUASH SUBPOENAS TO THE UNITED STATES
       DISTRICT COURT FOR THE SOUTHERN DISTRICT OF IOWA
______________________________________________________________________________




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I.       INTRODUCTION

         The Motion to Quash or, in the Alternative, for Protective Order (“Motion to

Quash”) [Dkt. No. 41], filed by non-parties SNB Farm Partnership, Grace Nelson,

Jeffrey Nelson, Jerita Nelson, Korinne Nelson, and Mark Nelson (collectively “SNB

Non-Parties”) was timely filed in the United States District Court for the Northern

District of Iowa, which is where the SNB Non-Parties reside and one of two judicial

districts with personal jurisdiction over the SNB Non-Parties (the other is the

United States District Court for the Southern District of Iowa—the “court of

compliance”—where the Motion to Quash should be transferred). After the Motion

to Quash was filed, and fully briefed, this case was transferred en masse to this

Court—without a finding by any court or argument from any party that

“exceptional circumstances” are present under Rule 45(f), or that this Court

possesses personal jurisdiction over the SNB Non-Parties.

         On April 16, 2019, the SNB Non-Parties filed a new action in the Court of

Compliance (S.D. Iowa), in which the SNB Non-Parties incorporated their timely

Motion to Quash. (A copy of the renewed Motion to Quash, filed in the S.D. Iowa on

April 16, 2019, without exhibits thereto, is attached for reference in the Appendix

attached hereto at App. 1–6.) The Motion to Quash [Dkt. No. 41] should therefore be

severed and transferred to the United States District Court for the Southern

District of Iowa because this Court lacks personal jurisdiction over the SNB Non-

Parties and as required by Rule 45.




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II.      BACKGROUND FACTS

         A.    Summary of Claims and Allegations.

         On July 31, 2018, VBF filed a complaint asserting causes of action of breach

of     fiduciary   duty,   fraudulent   concealment,   fraudulent    misrepresentation,

constructive fraud, civil conspiracy, aiding and abetting, unjust enrichment,

equitable accounting, and declaratory judgment against Defendants Leslie Wulf,

Bruce Hall, James Rea, John Rea, and Keith Driver (“Defendants”). There are no

claims asserted against the SNB Non-Parties in this case. Subsequently, VBF filed

a petition for bankruptcy in the Northern District of Iowa. In re VeroBlue Farms

USA, Inc., Case No. 18-01297 (Bankr. N.D. Iowa) (“Bankruptcy Case”), which

remains pending.

         B.    The SNB Non-Parties are Residents and Citizens of Iowa.

         SNB Farm Partnership is an Iowa partnership with four partners who are

residents and citizens of Hamilton and Webster Counties, Iowa, located in the

Central Division of the United States District Court for the Northern District of

Iowa. (See April 13, 2019 Decl. of Jeff Nelson, App. 7–8.)

         Likewise, the individuals are residents and citizens of Iowa. Grace Nelson is

a resident and citizen of Hamilton County, Iowa. (See April 13, 2019 Decl. of Grace

Nelson, App. 9.)

         Jeff Nelson is a resident and citizen of Hamilton County, Iowa. (April 13,

2019 Decl. of Jeff Nelson, App. 7.) Jerita Nelson is a resident and citizen of

Hamilton County, Iowa. (See April 14, 2019 Decl. of Jerita Nelson, App. 10.)



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Korinne Nelson is a resident and citizen of Hamilton County, Iowa. (See April 14,

2019 Decl. of Korinne Nelson, App. 11.) Mark Nelson is a resident and citizen of

Hamilton County, Iowa. (See April 13, 2019 Decl. of Mark Nelson, App. 12–13.)

      C.     The February 15, 2019 Subpoenas to the SNB Non-Parties.

      Shortly before the March 1, 2019 return date, VBF served subpoenas dated

February 15, 2019 on the SNB Non-Parties (the “Subpoenas”). The Subpoenas

required compliance in the Southern District of Iowa.

      As discussed in detail in the Motion to Quash and accompanying brief [Dkt.

No. 41-1] the voluminous Subpoenas request documents and communications that

have no bearing on the claims and defenses presented in this litigation, seek

documents specifically aimed at issues in the Bankruptcy Case, and are not

properly limited in time or topic. Further, the Subpoenas provided 14 days (or less)

to comply, which is unreasonable under Rule 45(d)(3)(A)(i). Finally, the Subpoenas

seek documents protected by the attorney client privilege.

      D.     On March 1, 2019, the SNB Non-Parties Timely Moved to
             Quash.

      The SNB Non-Parties timely moved to quash the Subpoenas on these

grounds in the Northern District of Iowa on March 1, 2019 under Federal Rules of

Civil Procedure 45(d)(3) and 26(c). [See Dkt No. 41]. Plaintiff VBF opposed the

Motion to Quash. [See Dkt No. 44.] On March 22, the SNB Non-Parties filed a reply

in support of the Motion to Quash (collectively, the “Subpoena-related Motions”).

[See Dkt. No. 49.]




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       E.    While the Motion to Quash was Pending, the Case was
             Transferred to This Court Without Addressing Rule 45 or
             Personal Jurisdiction of the SNB Non-Parties.

       On March 27, 2019—while the Motion to Quash was still pending—the

United States District Court for the Northern District of Iowa issued an Order

which transferred the “entire case” to this Court (the “Order”). [See Dkt No. 50.] The

Order made no mention of the pending Motion to Quash. The Order did not find the

“exceptional circumstances” under Rule 45(f). Neither VBF nor Defendants argued

that “exceptional circumstances” are present here with respect to the SNB Non-

Parties’ Motion to Quash. Further, the transferring court made no mention of this

Court’s personal jurisdiction over the SNB Non-Parties.

       F.    On April 16, 2019, the SNB Non-Parties Initiated an Original
             Action in the Court of Compliance, Incorporating Their
             March 1, 2019 Motion to Quash.

       On April 16, 2019, the SNB Non-Parties initiated an original action in the

United States District Court for the Southern District of Iowa. As set forth below,

that court is the compliance court under Rule 45.

III.   ARGUMENTS AND AUTHORITIES

       A.    Under Rule 45, the “Court of Compliance” is the United States
             District Court for the Southern District of Iowa.

       Rule 45 distinguishes between the “issuing” court (see Fed. R. Civ. P. 45(a)(2))

and the “compliance” court (see Fed. R. Civ. P. 45(d)(3)(A)). Rule 45(c) defines the

“place of compliance” for the production of documents as “a place within 100 miles of

where the person resides, is employed, or regularly transacts business in person.”

Fed. R. Civ. P. 45(c)(2)(A). The Subpoenas commanded production of documents at


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the Davis Brown law firm in Des Moines, Iowa, which is within 100 miles of the

SNB Non-Parties’ residences and in the United States District Court for the

Southern District of Iowa.

      B.     “Exceptional Circumstances” Do Not Exist Under Rule 45(f)—
             and No Court Has Made Such a Finding.

      Under Rule 45, a subpoena-related motion may not be transferred unless “the

person subject to the subpoena consents or if the court finds exceptional

circumstances.” Fed. R. Civ. P. 45(f). The SNB Non-Parties have not consented to

the transfer of this Court, which lacks personal jurisdiction over them. Nor do

exceptional circumstances exist.

      Rule 45 does not provide a definition of “exceptional circumstances,” but the

advisory committee and federal jurisprudence establish guideposts. “The prime

concern should be avoiding burdens on local nonparties subject to subpoenas, and it

should not be assumed that the issuing court is in a superior position to

resolve subpoena-related motions.” Chem-Aqua, Inc. v. Nalco Co., No. 3:14-MC-71-

D-BN, 2014 WL 2645999, at *1 (N.D. Tex. June 13, 2014) (quoting Fed. R. Civ. P.

45(f), advisory committee notes (2013 amendments)). “[T]he proponent of transfer

bears the burden of showing that such circumstances are present.” Id. Exceptional

circumstances may exist “when the court has already ruled on issues presented by

the motion or the same issues are likely to rise in discovery in many districts,” and

these “interests outweigh the interests of the nonparty served with the subpoena in

obtaining local resolution of the motion.” Id.




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      The Northern District of Iowa made no such finding when transferring the

Motion to Quash as part of the remainder of the case, nor could it. Exceptional

circumstances do not exist here sufficient to warrant a resolution of the Motion to

Quash in this Court. The SNB Non-Parties are each Iowa residents and have no

connection to the State of Texas. They would be subjected to undue burden if forced

to litigate the Subpoena-related Motions in this Court. Further, this Court has not

ruled on any of the issues presented in the Subpoena-related Motions.

      C.     The SNB Non-Parties’ Motion to Quash Should Be Transferred
             to the Court of Compliance (S.D. Iowa).

      All motions seeking to enforce, modify, or quash a subpoena must be litigated

in the compliance court. MetroPCS v. Thomas, 327 F.R.D. 600, 606 (N.D. Tex. 2018)

(holding that “[b]ecause the Subpoena requires compliance in Dallas, the Motion to

Quash and Motion to Compel are properly filed in this Court, which, as required by

Rule 45(d), is the court in the district where compliance with the Subpoenas is

required”) (citing Fed. R. Civ. P. 45(d)(2)(B), 45(d)(3)(A)); CSS, Inc. v. Herrington,

354 F. Supp. 3d 702, 711 (N.D. Tex. 2017) (“Here, the court for the district where

compliance with the Subpoenas is required is the Dallas Division of the Northern

District of Texas, and CSS properly filed its Motion to Quash in this Court under

Rule 45(d)(3)”).

      Federal Rule of Civil Procedure 45 requires that the Motion to Quash be

transferred to the Southern District of Iowa, where the Motion to Quash is pending.

See Green Pet Shop Enterprises, LLC v. Maze Innovations, Inc., No. 1:15-CV-1138,

2016 WL 5936892, at *1 (W.D. Pa. Oct. 12, 2016) (transferring motion to quash to


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compliance court). Further, this Court has no jurisdiction to consider the Subpoena-

related Motions prior to a finding—by the compliance court—that the Rule 45

transfer requirements have been satisfied.

      D.     This Court Lacks Personal Jurisdiction Over the SNB Non-
             Parties.

      Critically, this Court lacks personal jurisdiction over the SNB Non-Parties. In

order to find that this Court has personal jurisdiction over the nonresidents, the

Court must determine whether Texas's “long-arm statute confers personal

jurisdiction over” them and “whether the exercise of jurisdiction is consistent with

due process under the United States Constitution.” Cunningham v. CBC

Conglomerate, LLC, 359 F. Supp. 3d 471, 477 (E.D. Tex. 2019). Because Texas’s

long-arm statute confers jurisdiction to the limits of the federal constitution, the

sole inquiry is the constitutional test: whether the SNB Non-Parties have

“established minimum contacts with the forum state such that maintenance of the

suit does not offend traditional notions of fair play and substantial justice.” Id

(internal quotations omitted).

      Here, the SNB Non-Parties have had no contact with the State of Texas.

They are Iowa residents, who live and do business in the State of Iowa. Therefore,

this Court does not have personal jurisdiction over the SNB Non-Parties.

IV.   CONCLUSION

      For the foregoing reasons, the SNB Non-Parties’ Motion to Sever and

Transfer Motion to Quash should be granted and the Motion to Quash should be

transferred to the United States District Court for the Southern District of Iowa.


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                                      NELSON, AND KORINNE NELSON



                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on April 17, 2019, a true and correct

copy of the foregoing document was served electronically on all persons who receive

electronic notice through the Court’s CM/ECF system.



                                /s/   Chanda Clark




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